                                      Case 2:20-cv-03448-GW-MAA Document 19 Filed 08/12/20 Page 1 of 3 Page ID #:57




                                      1    Babak Hashemi, Esq. (State Bar No. 263494)
                                           LAW OFFICES OF BABAK HASHEMI, ESQ.
                                      2    20062 SW Birch Street, Ste. 200
                                      3    Newport Beach, CA 92660
                                           Office: (949)464-8529
                                      4    BabakHashemiLaw@gmail.com
                                      5    Attorney for Plaintiff: CARMEN JOHN PERRI
                                      6
                                      7                            UNITED STATES DISTRICT COURT
                                      8                        CENTRAL DISTRICT OF CALIFORNIA
                                      9
                                      10                                                 CASE No: 2:20-cv-03448-GW (MAAx)
                                            CARMEN JOHN PERRI, an
                                      11    individual,
                                      12                                                 NOTICE OF VOLUNTARY
                                                      Plaintiff,                         DISMISSAL, WITHOUT PREJUDICE
                                      13    v.                                           PURSUANT TO FED. R. CIV. P.
                                                                                         41(a)(1)(A)(i)
                                      14
                                            AMB PROPERTY HOLDING
                                      15    CORPORATION, a Maryland
                                      16    corporation; SPIRES
                                            RESTAURANT-CARSON, a
                                      17    business entity of unknown form;
                                      18    and DOES 1-10, inclusive,

                                      19                Defendants.
LAW OFFICES OF BABAK HASHEMI, ESQ..

 NEWPORT BEACH, CALIFORNIA 92660




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   20062 SW BIRCH ST.., STE. 200




                                      21   TO THE COURT AND ALL PARTIES:
                                      22         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
                                      23   Plaintiff, CARMEN JOHN PERRI (“Plaintiff”) requests that this Court enter a
                                      24   dismissal with prejudice of Plaintiff’s Complaint in the above-entitled action. Plaintiff
                                      25   has reached a full and final confidential settlement with Defendants and have agreed
                                      26   that each party shall bear his, their or its own costs and attorneys’ expenses.
                                      27
                                      28                                                                      Case No. 2:20-cv-03448
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                                           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)
                                      Case 2:20-cv-03448-GW-MAA Document 19 Filed 08/12/20 Page 2 of 3 Page ID #:58




                                      1          Defendants have not filed an answer to Plaintiff’s Complaint and no cross-
                                      2    claims have been advanced by Defendants, either individually or collectively.
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                                      5    Respectfully Submitted.
                                      6
                                      7    Dated: August 12, 2020           LAW OFFICES OF BABAK HASHEMI, ESQ.
                                      8
                                      9                                     By:     /s/ Babak Hashemi
                                                                                   Babak Hashemi, Esq.
                                      10                                           Attorney for Plaintiff
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                                           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)
Case 2:20-cv-03448-GW-MAA Document 19 Filed 08/12/20 Page 3 of 3 Page ID #:59




1                           CERTIFICATE OF SERVICE
2          I certify that on August 12, 2020, I electronically filed the foregoing
3    document with the Clerk of the Court using CM/ECF. I also certify that the
4    foregoing document is being served this day on Defendants’ representative in
5    this action via email transmission and via transmission of Electronic Filing
6    generated by CM/ECF.
7
8    DATED: August 12, 2020            LAW OFFICES OF BABAK HASHEMI

9                                      By: /s/Babak Hashemi
                                         Babak Hashemi, Esq.
10
                                         Attorney for Plaintiff
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